                      Case 3:21-cr-00274-CRB Document 1 Filed 01/26/21 Page 1 of 7
AO 91 (Rev. 11/11) Criminal Complaint


                                     UNITED STATES DISTRICT COURT                                                        FILED
                                                                 for the                                                 Jan 26 2021


                                                    Northern District
                                                  __________  DistrictofofCalifornia
                                                                           __________                                 SUSANY. SOONG
                                                                                                                 CLERK, U.S. DISTRICT COURT
                                                                                                              NORTHERN DISTRICT OF CALIFORNIA
                                                                                                                       SAN FRANCISCO
                  United States of America                          )
                             v.                                     )
                    Ian Benjamin Rogers
                                                                    )        Case No. 3-21-70157 MAG
                                                                    )
                                                                    )
                                                                    )
                                                                    )
                          Defendant(s)


                                                  CRIMINAL COMPLAINT
         I, the complainant in this case, state that the following is true to the best of my knowledge and belief.
On or about the date(s) of                   January 15, 2021              in the county of                 Napa                       in the
     Northern          District of            California        , the defendant(s) violated:

            Code Section                                                      Offense Description
26 U.S.C. §§ 5861(d), 5845(a)(8)                Unlawful possession of an unregistered destructive device
and (f)
                                                Maximum Penalties:
                                                10 years prison
                                                3 years supervised release following incarceration
                                                $10,000 fine
                                                $100 special assessment
                                                Forfeiture

         This criminal complaint is based on these facts:
See the attached affidavit of FBI Special Agent Stephanie Minor




         ✔ Continued on the attached sheet.
         ’

                                                                                       /s/ Stephanie Minor via telephone
                                                                                               Complainant’s signature
         Approved as to form _____/s/________
                                                                                      FBI Special Agent Stephanie Minor
                            AUSA Frank Riebli
                                                                                                Printed name and title

Sworn to before me by telephone pursuant to Fed. Rule Crim. P. 4(d) and 4.1.

         1/26/2021
Date:
                                                                                                  Judge’s signature

City and state:                         San Francisco, CA                          Hon. Alex G. Tse, U.S. Magistrate Judge
                                                                                                Printed name and title
            Case 3:21-cr-00274-CRB Document 1 Filed 01/26/21 Page 2 of 7




                 AFFIDAVIT IN SUPPORT OF CRIMINAL COMPLAINT



I, Stephanie Minor, a Special Agent of the Federal Bureau of Investigations, being duly sworn,

hereby state:



I.     INTRODUCTION

       1.       I make this affidavit in support of a criminal complaint charging Ian Benjamin

ROGERS with unlawful possession of an unregistered destructive device, in violation of

26 U.S.C. §§ 5861(d), 5845(a)(8), and 5845(f). For the reasons stated below, I submit that there

is probable cause to believe that, on or about January 15, 2021, ROGERS possessed five pipe

bombs in Napa County, in the Northern District of California.

       2.       The information contained in this affidavit, including the opinions I have formed

and statements set forth herein, is based upon information I have gathered in my investigation,

my personal observations, my training and experience in the field of domestic terrorism

investigations, and information received from other law enforcement officers and investigative

reports. Because this affidavit is being submitted for the limited purpose of securing a criminal

complaint, I have not included each and every fact known to me concerning this investigation. I

have set forth only those facts that I believe are necessary to establish probable cause to believe

that there has been a violation of 26 U.S.C. § 5861(d).



II.    AFFIANT’S TRAINING AND EXPERIENCE

       3.       I am a Special Agent with the Federal Bureau of Investigation (FBI). I am

currently assigned to the Domestic Terrorism Squad of the FBI’s San Francisco Field Office. I

successfully completed the 21 weeks of New Agent Training at the FBI Academy in Quantico,

Virginia in February 2020. During that time, I received training in physical surveillance, legal

statutes and procedures, financial investigations, money laundering techniques, asset

identification, forfeiture and seizure, confidential source management, and electronic
             Case 3:21-cr-00274-CRB Document 1 Filed 01/26/21 Page 3 of 7




surveillance techniques, including Title III monitoring.

       4.       As an FBI Special Agent, I have conducted and participated in investigations of

weapons of mass destruction, violent extremist ideologues, organized crime and weapons

offenses. During these investigations, I have utilized various types of investigative techniques,

including informants, physical surveillance, and the service of Grand Jury subpoenas. I have

participated in the execution of several federal arrest warrants and search warrants. Prior to my

employment with the FBI, I was enlisted in the United States Navy. During my time in the Navy,

I received training and experience in firearms handling and improvised explosive device

detection.



III.   APPLICABLE STATUTES
       5.       The National Firearms Act, 26 U.S.C. § 5861(d), makes it unlawful for a person

to “possess a firearm which is not registered to him in the National Firearms Registration and

Transfer Record.” The Act further defines the term “firearm” to include “a destructive device.”

Id. § 5845(a)(8). And the Act defines a “destructive device” to mean “any explosive, incendiary,

or poison gas” bomb, grenade, or similar device, or any “combination of parts either designed or

intended for use in converting any device into a destructive device . . . and from which a

destructive device may be readily assembled.” Id. § 5845(f). The term “destructive device” does

not include a device “which is neither designed nor redesigned for use as a weapon,” or any

device designed or redesigned for signaling, pyrotechnic purposes, or safety purposes. Id.



III.   FACTS SUPPORTING CRIMINAL COMPLAINT

       6.       On January 15, 2021, the Napa County Sheriff’s Office, the Napa Special

Investigations Bureau, and the FBI executed a state search warrant at Ian ROGERS’s home and

business in Napa County. Officers found a large gun safe at ROGERS’s business. Inside, the

safe, officers recovered several guns and five pipe bombs. They also identified other materials

that could be used to manufacture destructive devices, including black powder, pipes, endcaps,
            Case 3:21-cr-00274-CRB Document 1 Filed 01/26/21 Page 4 of 7




and manuals, including The Anarchist Cookbook, U.S. Army Improvised Munitions Handbook,

and Homemade C-4 A Recipe for Survival.

       7.      Officers seized a total of 49 firearms from ROGERS’s home and business, and

approximately two dozen ammunition boxes containing thousands of rounds of ammunition.

Several of the firearms, including what appears to be a kit-built replica MG-42 belt-fed machine

gun, appear to be capable of firing fully automatic. 1 A firearms expert is examining those

weapons to determine if they are machine guns.

       8.      In a post-arrest interview, ROGERS admitted that he had built the pipe bombs,

but said that they were for entertainment purposes only.
       9.      Other items found during the search, as well as text messages recovered from

ROGERS’s phone, indicate that the pipe bombs were not just for entertainment purposes. For

example, among the manuals recovered from ROGERS’s business, in addition to those listed

above, were what appear to be two copies of a U.S. Army Special Forces Guide to

Unconventional Warfare, and a U.S. Army Guerrilla Warfare Handbook. Officers also found the

following sticker on ROGERS’s vehicle:




I know from my training and experience and my discussions with other agents experienced in

domestic terrorism investigations that this sticker is commonly used by so-called “Three-

Percenters,” people who ascribe to extreme anti-government, pro-gun beliefs. Their use of

“three percent” is a reference to the belief that only three percent of the American colonists

fought against the British during the American Revolution.



1
     I know from my own research and discussions with other agents and officers that the
MG-42 was a machine gun produced in Germany during World War II for use by Nazi troops.
          Case 3:21-cr-00274-CRB Document 1 Filed 01/26/21 Page 5 of 7




       10.     Officers also found the “White Privilege Card” depicted below:




I know that many extreme anti-government militias are populated by white supremacists. I

believe that the statement “Trumps Everything” and the numbers “0045” repeated four times (to

make it look like a credit card number), are references to Donald Trump, the 45th President of

the United States.

       11.     Further, text messages recovered from ROGERS’s phone indicate his belief that

Donald Trump won the 2020 presidential election, and his intent to attack Democrats and places

associated with Democrats in an effort to ensure Trump remained in office. For example, in a

message that I believe ROGERS sent on January 10, 2021, 2 he said, “We can attack Twitter or

the democrats you pick” and “I think we can attack either easily”. When the other person

responded, “Hmmm” and “Let’s go after Soros,” ROGERS said, “We can attack Twitter and

democrats easy right now burn they’re shit down,” whereas targeting “Soros,” which I believe is

a reference to George Soros, would require a “road trip.” The next day, ROGERS sent another

message to the same person: “I want to blow up a democrat building bad”. “The democrats


2
         I have seen photographs of the text messages in ROGERS’s phone. Some of those
messages do not have a date, but only a day. For example, the messages in which ROGERS says
“We can attack Twitter or the democrats you pick” and “I think we can attack either easily” are
labeled “Sunday.” I believe this refers to Sunday, January 10, 2021 for at least two reasons.
First, the text message before is labeled “Jan 7,” which I believe means it was sent on January 7,
2021. Second, officers seized ROGERS’s phone on Friday, January 15, 2021. I know that chat
and message applications often label messages from the previous week with just the day and not
the date.
          Case 3:21-cr-00274-CRB Document 1 Filed 01/26/21 Page 6 of 7




need to pay,” he added. “Let’s see what happens, if nothing does I’m going to war” “Democrats,

Twitter, etc” “I hope 45 goes to war if he doesn’t I will”. Based on my training and experience

and my discussions with other agents with experience in domestic terrorism investigations, I

believe that these latter messages indicate ROGERS’s belief that Trump (“45”) actually won the

presidential election and should “go to war” to ensure he remained in power. I further believe

that the messages evince ROGERS’s intent to engage in acts of violence himself locally if there

was not an organized “war” to prevent Joe Biden from assuming the presidency.

       12.     ROGERS added, “Let’s see what happens then we act,” but followed it up with

“I’m thinking sac office first target” “Then maybe bird and face offices”. I believe that when

ROGERS said, “sac office first target,” he meant that their first target should be the offices of

California Governor Gavin Newsom in Sacramento. I further believe that when ROGERS said

that the “bird and face” offices would be next, he meant the offices of Twitter (“bird”) and

Facebook (“face”), because both social media platforms had locked Trump’s accounts to prevent

him from sending messages on those platforms. “Sad it’s come to this but I’m not going down

without a fight” “These commies need to be told what’s up,” he said.

       13.     A Napa County Sheriff’s Office bomb technician examined the pipe bombs seized

from ROGERS’s business. In a preliminary report, he described them as 7-inch long segments

of galvanized pipe with end caps screwed on and 1 to 2.5 inches of fuse material sticking out of a

hole in one of the end caps. Inside the pipes, the bomb tech found black powder material

consistent with the material found inside a plastic bottle of Hogdon Rifle Powder gunpowder

also seized from ROGERS’s residence. I know from my research that Hogdon Rifle Powder is

commercially-available gunpowder that can be used for reloading bullets. The bomb technician

conducted a burn test on a sample from the powder taken from one of the pipe bombs. He put

some powder on the concrete and applied heat to one end. The powder burned unconfined. He

also examined the fuses and determined them to be common fuses which can be purchased over

the internet or at hobby stores. Based on his examination and tests, the bomb technician

concluded that ROGERS constructed 5 improvised explosive devices that were fully operational
          Case 3:21-cr-00274-CRB Document 1 Filed 01/26/21 Page 7 of 7




and could cause great bodily harm or injury if handled improperly. They are depicted below:




       14.     I asked Special Agent Andrew Balady from the Bureau of Alcohol, Tobacco,
Firearms & Explosives to check the National Firearms Registry to determine whether ROGERS

had any destructive devices registered to him. SA Balady informed me that ROGERS did not

have any registrations.



IV.    CONCLUSION

       15.     For the foregoing reasons, I submit that there is probable cause to believe that Ian

ROGERS knowingly possessed an unregistered destructive device, in violation of 26 U.S.C.

§§ 5861(d), 5845(a)(8) and 5845(f). Accordingly, I request that the Court issue a criminal

complaint alleging that offense.


I swear under penalty of perjury that the foregoing are true and correct to the best of my

knowledge, information and belief.
                                                     /s/ Stephanie Minor
                                                     via telephone
                                                     ____________________________
                                                     STEPHANIE MINOR
                                                     FBI Special Agent
Sworn before me over the telephone, pursuant to Federal Rule of Criminal Procedure 4.1 and
           26th day of January, 2021
4(d), this ______


________________________________
HON. ALEX G. TSE
United States Magistrate Judge
